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                                 Exhibit 8



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                                              Indianapolis, IN

                                                                                               Page 1
                           UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF MASSACHUSETTS

         ----------------------------X

         IN RE: PHARMACEUTICAL                   ) MDL No. 1456

         INDUSTRY AVERAGE WHOLESALE              ) Master File No.

         PRICE LITIGATION                        ) 01-CV-12257-PBS

         ----------------------------) Subcategory Case

         THIS DOCUMENT RELATES TO:               ) No. 06-11337

         United States of America ex )

         rel. Ven-A-Care of the                  ) Hon. Patti B. Saris

         Florida Keys, Inc., et al.              )

         v. Dey, Inc., et al., Civil )

         Action No. 05-11084-PBS, and) VIDEOTAPED DEPOSITION

         United States of America ex ) OF THE INDIANA FAMILY

         rel. Ven-A-Care of the                  )   AND SOCIAL SERVICES

         Florida Keys, Inc., et al.              )    ADMINISTRATION by

         v. Boehringer Ingelheim                 )          CARL MARK

         Corp., et al., Civil Action )                   SHIRLEY, R.Ph.

         No. 07-10248-PBS                        )          VOLUME I

         ----------------------------X

                               DECEMBER 2, 2008

                             INDIANAPOLIS, INDIANA




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                                                                                               Page 2
    1
                     The videotaped deposition upon oral examination
    2
             of CARL MARK SHIRLEY, R.Ph., a witness produced and
    3
             sworn before me, Dana S. Miller, RPR, CRR, Notary
    4
             Public in and for the County of Hendricks, State of
    5
             Indiana, taken on behalf of the Defendants Dey and
    6
             Defendant Abbott at the Hilton Indianapolis North
    7
             Hotel, 8181 North Shadeland Avenue, Indianapolis,
    8
             Indiana, on December 2, 2008, at 9:07 a.m.,
    9
             pursuant to the Federal Rules of Civil Procedure.
 10

 11

 12

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 22




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                                                                                           Page 242
    1
             information that was available back then.                                     It
    2
             makes sense that as part of our overall analysis
    3
             of the possibility of moving that way, there
    4
             would have been some information as to how
    5
             providers typically acquire generic drugs.
    6
                        Q.          Was it Indiana's intent to move
    7
             reimbursement for generic drugs -- ingredient-
    8
             cost reimbursement for generic drugs to a level
    9
             consistent with what it believed pharmacies were
 10
             acquiring pharmaceutical products?                                That is, was
 11
             it trying to make AWP minus 20 approximate
 12
             average acquisition cost?
 13
                        A.          I think our goal always has been to
 14
             have our product reimbursement as much in line
 15
             with the federal EAC as possible.
 16
                        Q.          What is --
 17
                        A.          The federal EAC is federal estimated
 18
             acquisition cost.
 19
                        Q.          And what did Indiana do in -- at this
 20
             time to try to align its EAC reimbursement with
 21
             federal EAC reimbursement?
 22
                        A.          What this shows is that AWP went for --

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                                                                                           Page 243
    1
             excuse me, EAC for brand-name drugs went from AWP
    2
             minus 10 to AWP minus 13 1/2.
    3
                                    And then in addition, for generic drugs
    4
             as opposed to reimbursing for generic drugs at
    5
             AWP minus 13 1/2, it was moving to AWP minus 20
    6
             percent, which would be a better, apparently,
    7
             approximation of EAC.
    8
                        Q.          And what is EAC, if you could just
    9
             quickly --
 10
                        A.          EAC is defined in federal law.                       It's
 11
             the agency's best estimate of what providers pay
 12
             for drugs.
 13
                        Q.          And so was AWP minus 20 percent
 14
             Indiana's best estimate for the price at which
 15
             providers were acquiring generic drugs at the
 16
             time?
 17
                        A.          Apparently there would have been some
 18
             information that would have led the agency to
 19
             accept AWP minus 20 percent as the agency's best
 20
             estimate for EAC.
 21
                        Q.          But you have no knowledge that the
 22
             agency in fact believed --

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                                                                                           Page 244
    1
                        A.          I have no specifics.
    2
                        Q.          -- that -- okay, thank you.                   Can I just
    3
             quickly ask you to review the second point on
    4
             this page, non-leaven -- pardon me, that's my
    5
             inner Jew shining through.                               It's not quite
    6
             Passover yet.                     The non-legend over-the-counter
    7
             drug medical supplies paragraph.
    8
                                               (Witness complied with request.)
    9
                        Q.          I guess I'll pose the question and
 10
             allow you to continue reviewing the paragraph.
 11
                                    It appears that one of the pricing
 12
             metrics permitted on non-legend pharmaceutical
 13
             products is that a pharmacy may be reimbursed at
 14
             AWP minus 150 percent; is that correct?
 15
                        A.          No, that's not correct.
 16
                        Q.          I'm not sure I understand.                   What --
 17
                        A.          You said --
 18
                        Q.          I'm sorry.
 19
                        A.          -- AWP minus 150 percent.
 20
                        Q.          I'm absolutely incorrect.                   At 150
 21
             percent --
 22
                        A.          Yes.

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                                                                                             Page 359
    1
             buying albuterol at AWP?
    2
                        A.          If that's what the report stated.
    3
                        Q.          Does Indiana have a definition of
    4
             average wholesale price separate and apart from
    5
             any guidance from the federal government?
    6
                        A.          Not that I'm aware of.
    7
                        Q.          Nothing in statute regulation or
    8
             otherwise?
    9
                        A.          Not that I'm aware of.
 10
                        Q.          Thank you.
 11
                                    MR. JULIE:                    I don't have any time left,
 12
             do I?
 13
                                    VIDEOGRAPHER:                    One minute.
 14
                                    MR. JULIE:                    I'll save it.    Thank you.
 15
                                    VIDEOGRAPHER:                    This concludes today's
 16
             testimony in the deposition of Mr. Shirley
 17
             consisting of seven tapes in total.                                   We're off
 18
             the record at 5:34.
 19
                                    AND FURTHER THE DEPONENT SAITH NOT
 20

 21

 22




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